                                              Case 19-90046-BHL-7A               Doc 23           FiledFORM
                                                                                                         04/29/19
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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:       1

                                                                                         ASSET CASES

Case No.:                        19-90046-BHL                                                                                                          Trustee Name:                               Charity S. Bird
Case Name:                       CLIFT, PATRICK RAYMOND                                                                                                Date Filed (f) or Converted (c):            01/11/2019 (f)
For the Period Ending:           03/31/2019                                                                                                            §341(a) Meeting Date:                       02/13/2019
                                                                                                                                                       Claims Bar Date:                            05/20/2019

                                     1                                      2                                3                                 4                        5                                            6

                             Asset Description                            Petition/                   Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                              (Scheduled and                            Unscheduled                  (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                         Unscheduled (u) Property)                         Value                            Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

 Ref. #
1       1090 SR 46 E Batesville IN 47006-0000                              $107,000.00                                        $0.00                                            $0.00                                          FA
2          2015 Jeep Compass Mileage: 36,000                                $12,000.00                                        $0.00                                            $0.00                                          FA
3          Household goods and furnishings                                      $1,500.00                                     $0.00                                            $0.00                                          FA
4          Electronics                                                           $500.00                                      $0.00                                            $0.00                                          FA
5          (1) Guitar                                                             $50.00                                      $0.00                                            $0.00                                          FA
6          (1) Pistol (1) Shotgun (1) Rifle                                      $200.00                                      $0.00                                            $0.00                                          FA
7          Clothing & Shoes                                                       $50.00                                      $0.00                                            $0.00                                          FA
8          Hand & Power Tools                                                    $200.00                                      $0.00                                            $0.00                                          FA
9          Checking & Savings BCU                                                 $10.00                                      $0.00                                            $0.00                                          FA
10         Debit Card Chime                                                      $100.00                                      $0.00                                            $0.00                                          FA
11         401(k) Fidelity                                                  $99,437.96                                $99,437.96                                               $0.00                                          FA
12         Potential prorated tax refunds                                       $2,891.00                              $2,601.00                                        $2,601.00                                             FA
13         Term life insurance policy through ; Beneficiary:                       $0.00                                      $0.00                                            $0.00                                          FA
           employer


TOTALS (Excluding unknown value)                                                                                                                                                                Gross Value of Remaining Assets
                                                                            $223,938.96                             $102,038.96                                             $2,601.00                                   $0.00




    Initial Projected Date Of Final Report (TFR):          08/31/2019                       Current Projected Date Of Final Report (TFR):                                    /s/ CHARITY S. BIRD
                                                                                                                                                                             CHARITY S. BIRD
                                         Case 19-90046-BHL-7A       Doc 23         FiledFORM
                                                                                         04/29/19
                                                                                               2           EOD 04/29/19 11:13:26                     Pg 2 of 3Page No: 1
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         19-90046-BHL                                                                                 Trustee Name:                         Charity S. Bird
 Case Name:                       CLIFT, PATRICK RAYMOND                                                                       Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***5239                                                                                   Checking Acct #:                      ******0046
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:             1/11/2019                                                                                    Blanket bond (per case limit):        $48,364,291.00
For Period Ending:                03/31/2019                                                                                   Separate bond (if applicable):

       1                2                                3                                      4                                                      5                 6                7

   Transaction       Check /                         Paid to/           Description of Transaction                              Uniform           Deposit          Disbursement         Balance
      Date            Ref. #                      Received From                                                                Tran Code            $                   $


03/15/2019            (12)     Debtor                             2018 Tax Refund payment                                       1124-000             $2,601.00                                $2,601.00

                                                                                  TOTALS:                                                            $2,601.00                $0.00           $2,601.00
                                                                                      Less: Bank transfers/CDs                                           $0.00                $0.00
                                                                                  Subtotal                                                           $2,601.00                $0.00
                                                                                      Less: Payments to debtors                                          $0.00                $0.00
                                                                                  Net                                                                $2,601.00                $0.00



                     For the period of 1/11/2019 to 03/31/2019                                              For the entire history of the account between 03/15/2019 to 03/31/2019

                     Total Compensable Receipts:                   $2,601.00                                Total Compensable Receipts:                                 $2,601.00
                     Total Non-Compensable Receipts:                   $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $2,601.00                                Total Comp/Non Comp Receipts:                               $2,601.00
                     Total Internal/Transfer Receipts:                 $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $0.00                                Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:              $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                $0.00                                Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:            $0.00                                Total Internal/Transfer Disbursements:                           $0.00
                                        Case 19-90046-BHL-7A       Doc 23         FiledFORM
                                                                                        04/29/19
                                                                                              2     EOD 04/29/19 11:13:26                    Pg 3 of 3Page No: 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          19-90046-BHL                                                                         Trustee Name:                         Charity S. Bird
Case Name:                        CLIFT, PATRICK RAYMOND                                                               Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***5239                                                                           Checking Acct #:                     ******0046
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:             1/11/2019                                                                            Blanket bond (per case limit):        $48,364,291.00
For Period Ending:                03/31/2019                                                                           Separate bond (if applicable):

      1                 2                                3                                     4                                              5                  6                7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit          Disbursement         Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                   $




                                                                                                                                                                     NET          ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE         BALANCES

                                                                                                                                          $2,601.00                  $0.00          $2,601.00




                     For the period of 1/11/2019 to 03/31/2019                                      For the entire history of the case between 01/11/2019 to 03/31/2019

                     Total Compensable Receipts:                   $2,601.00                        Total Compensable Receipts:                                 $2,601.00
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $2,601.00                        Total Comp/Non Comp Receipts:                               $2,601.00
                     Total Internal/Transfer Receipts:                 $0.00                        Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                 $0.00                         Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:             $0.00                         Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:               $0.00                         Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:           $0.00                         Total Internal/Transfer Disbursements:                           $0.00




                                                                                                                    /s/ CHARITY S. BIRD
                                                                                                                    CHARITY S. BIRD
